           Case 2:19-cr-00215-TOR                  ECF No. 396            filed 10/20/20           PageID.1791 Page 1 of 7
                                                                                                                                FILED IN THE
 AO 245B (Rev. 09/19) Judgment in a Criminal Case                                                                           U.S. DISTRICT COURT
                      Sheet 1                                                                                         EASTERN DISTRICT OF WASHINGTON




                                        UNITED STATES DISTRICT COURT                                                    Oct 20, 2020
                                                                                                                              SEAN F. MCAVOY, CLERK
                                                     Eastern District of Washington

             UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE
                        v.
                ADRIANNA N MCCREA                                          Case Number:          2:19-CR-00215-TOR-8
                                                                           USM Number:           21719-085
                                                                                                       Sandy D Baggett
                                                                                                       Defendant's Attorney




THE DEFENDANT:
 ☒ pleaded guilty to count(s)       1 of the Indictment
       pleaded nolo contendere to count(s)
 ☐     which was accepted by the court.
       was found guilty on count(s) after a
 ☐     plea of not guilty.

The defendant is adjudicated guilty of these offenses:
 Title & Section               /             Nature of Offense                                                  Offense Ended               Count
  18 U.S.C. § 1349 - CONSPIRACY TO COMMIT BANK FRAUD                                                                07/31/2018                 1




        The defendant is sentenced as provided in pages 2 through            6 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

 ☐ The defendant has been found not guilty on count(s)
 ☒ Count(s) 9-12, 28-30 & 31                                                  ☐ is ☒ are dismissed on the motion of the United States
      It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence, or
mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                10/20/2020
                                                                Date of Imposition of Judgment




                                                                Signature of Judge


                                                                The Honorable Thomas O. Rice                  Judge, U.S. District Court
                                                                Name and Title of Judge
                                                                10/20/2020
                                                                Date
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 AO 245B (Rev. 09/19) Judgment in a Criminal Case                                                                       Judgment -- Page 2 of 6
                      Sheet 2 - Imprisonment

 DEFENDANT:            ADRIANNA N MCCREA
 Case Number:          2:19-CR-00215-TOR-8


                                                            IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
term of:       Time served as to Count 1 (9 days).




 ☐ The court makes the following recommendations to the Bureau of Prisons:




 ☐ The defendant is remanded to the custody of the United States Marshal.
 ☐ The defendant shall surrender to the United States Marshal for this district:

            ☐ at                                        ☐    a.m.        ☐     p.m.    on

            ☐ as notified by the United States Marshal.

 ☐ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

            ☐ before 2 p.m. on
            ☐ as notified by the United States Marshal.
            ☐ as notified by the Probation or Pretrial Services Office.



                                                                 RETURN
I have executed this judgment as follows:


           Defendant delivered on                                                     to


at                                                  , with a certified copy of this judgment.




                                                                             ______________________________________________________
                                                                                                UNITED STATES MARSHAL

                                                                         By ______________________________________________________
                                                                                            DEPUTY UNITED STATES MARSHAL
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                            Sheet 3 – Supervised Release

 DEFENDANT:                ADRIANNA N MCCREA
 Case Number:              2:19-CR-00215-TOR-8
                                                            SUPERVISED RELEASE
Upon release from imprisonment, you shall be on supervised release for a term of:          5 years

                                                       MANDATORY CONDITIONS
 1.        You must not commit another federal, state or local crime.
 2.        You must not unlawfully possess a controlled substance, including marijuana, which remains illegal under federal law.
 3.        You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of
           release from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
                 ☐ The above drug testing condition is suspended, based on the court's determination that you
                      pose a low risk of future substance abuse. (check if applicable)
 4.        ☒ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
 5.        ☐ You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et
                seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which
                you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
 6.        ☐ You must participate in an approved program for domestic violence. (check if applicable)

                                         STANDARD CONDITIONS OF SUPERVISION
 As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
 imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
 by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

      1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of
            your release from imprisonment, unless the probation officer instructs you to report to a different probation office or within
            a different time frame.
      2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about
            how and when you must report to the probation officer, and you must report to the probation officer as instructed.
      3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission
            from the court or the probation officer.
      4.    You must be truthful when responding to the questions asked by your probation officer.
      5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your
            living arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the
            change. If notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the
            probation officer within 72 hours of becoming aware of a change or expected change.
      6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
            officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
      7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses
            you from doing so. If you do not have full-time employment you must try to find full-time employment, unless the
            probation officer excuses you from doing so. If you plan to change where you work or anything about your work (such as
            your position or your job responsibilities), you must notify the probation officer at least 10 days before the change. If
            notifying the probation officer at least 10 days in advance is not possible due to unanticipated circumstances, you must
            notify the probation officer within 72 hours of becoming aware of a change or expected change.
      8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has
            been convicted of a felony, you must not knowingly communicate or interact with that person without first getting the
            permission of the probation officer.
  9.        If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
  10.       You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e.,
            anything that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person
            such as nunchakus or tasers).
  11.       You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
            without first getting the permission of the court.
  12.       If this judgment imposes restitution, a fine, or special assessment, it is a condition of supervised release that you pay in
            accordance with the Schedule of Payments sheet of this judgment. You shall notify the probation officer of any material
            change in your economic circumstances that might affect your ability to pay any unpaid amount of restitution, fine, or special
            assessments.
  13.       You must follow the instructions of the probation officer related to the conditions of supervision.
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 AO 245B   (Rev. 09/19) Judgment in a Criminal Case                                                                 Judgment -- Page 4 of   6
                        Sheet 3D – Supervised Release

 DEFENDANT:            ADRIANNA N MCCREA
 Case Number:          2:19-CR-00215-TOR-8

                                       SPECIAL CONDITIONS OF SUPERVISION

1. You must not open, possess, use, or otherwise have access to any checking account, ATM card, or credit card, without the advance
approval of the supervising officer.

2. You must not incur any new debt, open additional lines of credit, or enter into any financial contracts, without the advance approval
of the supervising officer.

3. You must complete a mental health evaluation and follow any treatment recommendations of the evaluating professional which do
not require forced or psychotropic medication and/or inpatient confinement, absent further order of the court. You must allow
reciprocal release of information between the supervising officer and treatment provider. You must contribute to the cost of treatment
according to your ability to pay.

4. You must submit your person, residence, office, vehicle and belongings to a search, conducted by a probation officer, at a sensible
time and manner, based upon reasonable suspicion of contraband or evidence of violation of a condition of supervision. Failure to
submit to search may be grounds for revocation. You must warn persons with whom you share a residence that the premises may be
subject to search.

5. You must undergo a substance abuse evaluation and, if indicated by a licensed/certified treatment provider, enter into and
successfully complete an approved substance abuse treatment program, which could include inpatient treatment and aftercare upon
further order of the court. You must contribute to the cost of treatment according to your ability to pay. You must allow full reciprocal
disclosure between the supervising officer and treatment provider.

6. You must abstain from the use of illegal controlled substances, and must submit to urinalysis and sweat patch testing, as directed by
the supervising officer, but no more than 6 tests per month, in order to confirm continued abstinence from these substances.




U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.


 Defendant's Signature                                                                          Date
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                         Sheet 5 – Criminal Monetary Penalties

 DEFENDANT:             ADRIANNA N MCCREA
 Case Number:           2:19-CR-00215-TOR-8

                                            CRIMINAL MONETARY PENALTIES
         The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                 Assessment                 Restitution              Fine                     AVAA Assessment*           JVTA Assessment**
 TOTALS          $100.00                    $10,250.00               $.00                     $.00                       $.00

 ☐ The determination of restitution is deferred until  . An Amended Judgment in a Criminal Case (AO245C) will be
   entered after such determination.
 ☒The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
         the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
         before the United States is paid.

Name of Payee                                                           Total Loss***         Restitution Ordered        Priority or Percentage

Bank of America                                                             $2,850.00                $2,850.00                      3rd in full

Key Bank                                                                    $4,550.00                $4,550.00                      1st in full

Washington Trust Bank                                                       $8,260.00                $2,850.00                      2nd in full

TOTALS                                                                      $15,660.00               $10,250.00




 ☐ Restitution amount ordered pursuant to plea agreement               $

 ☐ The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full
       before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6
       may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
 ☒ The court determined that the defendant does not have the ability to pay interest and it is ordered that:
              the interest requirement is waived
       ☒ for the                                            ☐ fine                          ☒            restitution
       ☐ the interest requirement for the                   ☐ fine                          ☐            restitution is modified as follows:

* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22
*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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 AO 245B    (Rev. 09/19) Judgment in a Criminal Case                                                                              Judgment -- Page 6 of 6
                         Sheet 6 – Schedule of Payments

 DEFENDANT:             ADRIANNA N MCCREA
 Case Number:           2:19-CR-00215-TOR-8

                                                    SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A ☐         Lump sum payments of $                                      due immediately, balance due
   ☐         not later than                                                        , or
   ☐         in accordance with        ☐ C, ☐ D, ☐ E, or        ☐ F below; or
 B ☒         Payment to begin immediately (may be combined with ☐ C, ☐ D, or                              ☒ F below); or
 C ☐         Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                        over a period of
                              (e.g., months or years), to commence               (e.g., 30 or 60 days) after the date of this judgment; or
 D     ☐     Payment in equal    (e.g., weekly, monthly, quarterly) installments of $                 over a period of
                                (e.g., months or years), to commence            (e.g., 30 or 60 days) after release from imprisonment to a
             term of supervision; or
 E     ☐     Payment during the term of supervised release will commence within                    (e.g., 30 or 60 days) after release from
             imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or
 F     ☒     Special instructions regarding the payment of criminal monetary penalties:


     While on supervised release, monetary penalties are payable on a monthly basis of not less than $100.00 per month or 10% of the
     defendant's net household income, whichever is larger, commencing 30 days after sentencing.


Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons'
Inmate Financial Responsibility Program, are made to the following address until monetary penalties are paid in full: Clerk, U.S.
District Court, Attention: Finance, P.O. Box 1493, Spokane, WA 99210-1493.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

 ☒ Joint and Several1
        Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
        and corresponding payee, if appropriate.

        See attached Joint and Several Report

 ☐ The defendant shall pay the cost of prosecution.
 ☐ The defendant shall pay the following court cost(s):
 ☐ The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment (5) fine
principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of prosecution and court
costs
             Case 2:19-cr-00215-TOR       ECF No. 396     filed 10/20/20       PageID.1797 Page 7 of 7
Adrianna N McCrea Co-Defendants            Total Loss Amount   Joint and Several   Victim

Angus A Johnston 2:19-CR-00215-TOR-1               $2,850.00          $2,850.00    Bank of America

Anthony E Wright 2:19-CR-00215-TOR-6               $2,850.00           $290.40     Bank of America

Britney R McDaniel 2:19-CR-00215-TOR-7             $2,850.00           $484.00     Bank of America

Jordan L Yates 2:19-CR-00215-TOR-9                 $2,850.00           $484.00     Bank of America

Tyler A Bordelon 2:19-CR-00215-TOR-10              $2,850.00           $193.60     Bank of America



Angus A Johnston 2:19-CR-00215-TOR-1               $4,550.00          $4,550.00    Key Bank

Anthony E Wright 2:19-CR-00215-TOR-6               $4,550.00           $463.50     Key Bank

Britney R McDaniel 2:19-CR-00215-TOR-7             $4,550.00           $772.50     Key Bank

Jordan L Yates 2:19-CR-00215-TOR-9                 $4,550.00           $772.50     Key Bank

Tyler A Bordelon 2:19-CR-00215-TOR-10              $4,550.00           $309.00     Key Bank



Angus A Johnston 2:19-CR-00215-TOR-1               $8,260.00          $2,850.00    Washington Trust Bank

Anthony E Wright 2:19-CR-00215-TOR-6               $8,260.00           $841.20     Washington Trust Bank

Britney R McDaniel 2:19-CR-00215-TOR-7             $8,260.00          $1,402.00    Washington Trust Bank

Jonny Shineflew 2:19-CR-00215-TOR-2                $8,260.00          $2,555.00    Washington Trust Bank

Jordan L Yates 2:19-CR-00215-TOR-9                 $8,260.00          $1,402.00    Washington Trust Bank

Michael John Slater 2:19-CR-00215-TOR-5            $8,260.00          $2,555.00    Washington Trust Bank

Tyler A Bordelon 2:19-CR-00215-TOR-10              $8,260.00           $560.80     Washington Trust Bank
